Case 5:22-cv-00114-C Document 2 Filed 06/14/22   Page 1 of 19 PageID 6
Case 5:22-cv-00114-C Document 2 Filed 06/14/22   Page 2 of 19 PageID 7
Case 5:22-cv-00114-C Document 2 Filed 06/14/22   Page 3 of 19 PageID 8
Case 5:22-cv-00114-C Document 2 Filed 06/14/22   Page 4 of 19 PageID 9
Case 5:22-cv-00114-C Document 2 Filed 06/14/22   Page 5 of 19 PageID 10
Case 5:22-cv-00114-C Document 2 Filed 06/14/22   Page 6 of 19 PageID 11
Case 5:22-cv-00114-C Document 2 Filed 06/14/22   Page 7 of 19 PageID 12
Case 5:22-cv-00114-C Document 2 Filed 06/14/22   Page 8 of 19 PageID 13
Case 5:22-cv-00114-C Document 2 Filed 06/14/22   Page 9 of 19 PageID 14
Case 5:22-cv-00114-C Document 2 Filed 06/14/22   Page 10 of 19 PageID 15
Case 5:22-cv-00114-C Document 2 Filed 06/14/22   Page 11 of 19 PageID 16
Case 5:22-cv-00114-C Document 2 Filed 06/14/22   Page 12 of 19 PageID 17
Case 5:22-cv-00114-C Document 2 Filed 06/14/22   Page 13 of 19 PageID 18
Case 5:22-cv-00114-C Document 2 Filed 06/14/22   Page 14 of 19 PageID 19
Case 5:22-cv-00114-C Document 2 Filed 06/14/22   Page 15 of 19 PageID 20
Case 5:22-cv-00114-C Document 2 Filed 06/14/22   Page 16 of 19 PageID 21
Case 5:22-cv-00114-C Document 2 Filed 06/14/22   Page 17 of 19 PageID 22
Case 5:22-cv-00114-C Document 2 Filed 06/14/22   Page 18 of 19 PageID 23
Case 5:22-cv-00114-C Document 2 Filed 06/14/22   Page 19 of 19 PageID 24
